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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS

 IN RE: TESTOSTERONE REPLACEMENT                      Case No. 1:14-cv-1748
 THERAPY PRODUCTS LIABILITY
 LITIGATION                                           MDL No. 2545


                                                      Hon. Matthew F. Kennelly
 THIS DOCUMENT RELATES TO ALL
 CASES


                           CASE MANAGEMENT ORDER NO. 108
        (Timeline for Pre-Trial Materials for CMO 75 and CMO 87 Wave 1 and 2 Cases)
         The Court enters the following schedule of dates to apply to the cases selected for trial

pursuant to CMO 87 (as it applies to Wave 1 and Wave 2 only) and CMO 75. The parties should

note that Section II of this order, concerning CMO 87 Wave 2 cases, modifies the summary

judgment and Daubert motion briefing schedule set in CMO 87 to ensure that Wave 2 cases that

survive summary judgment will be ready for trial by no later than January 14, 2019. The Court

reserves the right to advance that or any other part of the schedule set in this order to ensure that

a given case or cases are ready for trial earlier than the dates contemplated in this order.


   I.         CMO 87 (Wave 1 Cases ) – Timeline for Submission of Pretrial Materials

         1.      Motions in limine are to be filed by August 22, 2018.

         2.      Oppositions to motions in limine are to be filed by August 29, 2018.

         3.      The final Pretrial Order, including witness lists, exhibit lists with objections,
                 proposed jury instructions and voir dire questions are to be filed by September 14,
                 2018.

                 a.     The parties are to exchange proposals for the Pretrial Order, witness lists,
                        exhibit lists (copies of exhibits need not be exchanged, but upon request
                        any un-Bates numbered and not previously provided exhibit will be
                        produced within 2 days), proposed jury instructions and voir dire
                        questions no later than August 31, 2018.




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               b.     Each side is to respond to the other side's proposal for the Pretrial Order,
                      with objections to the other party's exhibit list, and meet and confer
                      regarding proposed jury instructions and voir dire question no later than
                      September 7, 2018.

       4.      Deposition designations and objections/responses are to be filed with the Court no
               later than September 21, 2018.

               a.     Each party's deposition designations are to be served on the opposing
                      party no later than September 7, 2018.

               b.     The parties are to meet and confer regarding deposition designations to
                      attempt to avoid overlapping affirmative designations by September 10,
                      2018.

               c.     Objections to deposition designations and counter-designations, if any, are
                      to be served on the opposing party by September 14, 2018.

               d.     Responses to objections and objections to counter-designations are to be
                      served on the opposing party by September 17, 2018.

               e.     The parties are encouraged and directed to submit a common set of
                      deposition designations and objections for the Wave 1 cases for witnesses
                      whose depositions will be used in more than one case.


 II.        CMO 87 (Wave 2 Cases ) – Timeline for Submission of Pretrial Materials

       1.      For CMO 87 Wave 2 cases, the summary judgment and Daubert motion briefing
               schedule set forth in CMO 87 is modified. Any motion for summary judgment or
               partial summary judgment or seeking to challenge expert testimony pursuant to
               Daubert remains due by no later than November 16, 2018. Responses shall be
               filed by no later than December 7, 2018. Replies shall be filed by no later than
               December 14, 2018.

       2.      Motions in limine are to be filed by December 21, 2018. The Court notes that this
               due date is highly likely to be before the Court makes rulings on any summary
               judgment and Daubert motions in the CMO 87 Wave 2 cases.

       3.      Oppositions to motions in limine are to be filed by January 3, 2019.

       4.      The final Pretrial Order, including witness lists, exhibit lists with objections,
               proposed jury instructions and voir dire questions are to be filed by January 7,
               2019.

               a.     The parties are to exchange proposals for the Pretrial Order, witness lists,
                      exhibit lists (copies of exhibits need not be exchanged, but upon request


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                           any un-Bates numbered and not previously provided exhibits will be
                           produced within 2 days), proposed jury instructions and voir dire
                           questions no later than December 24, 2019.

                    b.     Each side is to respond to the other side's proposal for the Pretrial Order,
                           with objections to the other party's exhibit list, and meet and confer
                           regarding proposed jury instructions and voir dire questions no later than
                           December 31, 2019.

            5.      Deposition designations and objections/responses are to be filed with the Court no
                    later than January 7, 2019. The parties are directed to work out a schedule for
                    exchanging deposition designations, objections, and responses consistent with the
                    filing due date of January 7, 2019. The parties are encouraged and directed to
                    submit a common set of deposition designations and objections for the Wave 2
                    cases for witnesses whose depositions will be used in more than one case.

     III.        CMO 75 – Timeline for Submission of Pretrial Materials 1

            1.      Motions in limine are to be filed by January 7, 2019.

            2.      Oppositions to motions in limine are to be filed by January 14, 2019.

            3.      The final Pretrial Order, including witness lists, exhibit lists with objections,
                    proposed jury instructions and voir dire questions are to be filed by January 23,
                    2019.

                    a.     The parties are to exchange proposals for the Pretrial Order, witness lists,
                           exhibit lists (copies of exhibits need not be exchanged, but upon request
                           any un-Bates numbered and not previously provided exhibit will be
                           produced within 2 days), proposed jury instructions and voir dire
                           questions no later than January 9, 2019.

                    b.     Each side is to respond to the other side's proposal for the Pretrial Order,
                           with objections to the other party's exhibit list, and meet and confer
                           regarding proposed jury instructions and voir dire question no later than
                           January 16, 2019.

            4.      Deposition designations and objections/responses are to be filed with the Court no
                    later than January 28, 2019.

                    a.     Each party's deposition designations are to be served on the opposing
                           party no later than January 14, 2019.

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 The Court notes that the parties proposed a pretrial schedule for CMO 75 cases based on the
Court's suggestion that all of the selected cases will be eligible for trial without being winnowed
down. If the Court determines that it wants a specific CMO 75 case set for trial on January 7,
2019, the parties will provide a pretrial schedule separately for that case.


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            b.     The parties are to meet and confer regarding deposition designations to
                   attempt to avoid overlapping affirmative designations by January 17,
                   2019.

            c.     Objections to deposition designations and counter-designations, if any, are
                   to be served on the opposing party by January 21, 2019.

            d.     Responses to objections and objections to counter-designations are to be
                   served on the opposing party by January 24, 2019.


IT IS SO ORDERED.

Date: March 21, 2018
                                                         s/ Matthew F. Kennelly
                                                        MATTHEW F. KENNELLY
                                                        United States District Judge




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